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                                                  450 5th Street, N.W.
                                                  Washington, DC 20530


                                                                         June 11, 2024
Via ECF
The Honorable Julien X. Neals
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

              Re:    United States et al. v. Apple Inc., No. 2:24-cv-04055 (JXN-LDW)

Dear Judge Neals:

         We write to explain the amendments made in the First Amended Complaint (FAC) filed
today. The FAC makes two changes, neither of which alter the substance of the allegations.
First, the FAC adds 4 additional co-plaintiffs: Indiana, Massachusetts, Nevada, and Washington.
Second, the FAC adds a seventh claim for relief under a recently passed Tennessee state law,
which substantively mirrors Section 2 of the Sherman Act. The amendments are not made in
response to Apple’s letter seeking a pre-motion conference in advance of a motion to dismiss,
and we do not believe this amendment has any effect on if or when Your Honor intends to hold
that conference.


                                            Respectfully Submitted,

                                            s/ Jonathan H. Lasken
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                                   Washington, and Wisconsin
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA et al.,

                Plaintiff,
                                                  Case No. 2:24-cv-04055-JXN-LDW
           v.

 APPLE INC.
                Defendants.

                                CERTIFICATE OF SERVICE

       I hereby certify that the above letter and this Certificate of Service were served upon

defendant’s counsel, Craig S. Primis, Esq., Devora W. Allen, Esq., Liza M. Walsh, Esq., and K.

Winn Allen, Esq. 1301 Pennsylvania Avenue, NW, Washington, D.C., 20004, by CM/ECF on

June 11.



                                                     BY: s/ Jonathan Lasken
                                                     JONATHAN LASKEN
                                                     Assistant Chief
                                                     Civil Conduct Task force
                                                     United States Department of Justice
                                                     Antitrust Division
                                                     Attorney for Plaintiff United States
